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                       Exhibit E
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                                                                                                   GUARANTY




       induce        Ally Bank (Ally Capital                                                                                                                                                chartered                       bank
To                                                                      in    Hawaii,         Mississippi,          Montana              and New           Jersey),           a
                                                                                                                                                                                  Utah                          state


and    Ally Financial                 inc.     (collectively             with      Ally Bank,            the   "Ally Parties"),                 a
                                                                                                                                                     Delaware             corporation,              each       with   a     local


business           address       at1735          N Brown           Road,           Suite      500, Lawrenceville,                    Georgia          30043         to    extend         or
                                                                                                                                                                                              continue          credit and


other       financial                                                                                                                                                                  Off Lease            Only       Parent
                               accommodations                     to    Off Lease             Only LLC,             a
                                                                                                                        Florida          entity ("Dealership"),
LLC       ("Guarantor")                  does    hereby unconditionally guarantee the payment of all obligations                                                                   of    Dealership            to    the    Ally
Parties        now       existing         or
                                               hereafter          arising under the Dealership's                              Wholesale             Security Agreement with Ally                                 Financial


Inc., f/k/a GMAC dated January 7, 2008 and its Wholesale                                                            Security Agreement with Ally Bank, f/k/a GMAC                                                          Bank


as
     created        by the GMAC Bank Master Wholesale Agreement dated October 11,2010 (as such agreements                                                                                                       may
                                                                                                                                                                                                                            have

been      or     in the future                   be    amended, restated,                          substituted), together with all costs, expenses, and attorneys'                                                          fees
                                         may                                                  or




incurred           by    the    Ally       Parties      in       connection             with             default         of    Dealership            and      all       costs,                           and    attorneys'
                                                                                               any                                                                                 expenses,

fees      incurred                    the                   Parties          in    connection             with      the        enforcement                of       this                         (collectively,               the
                               by              Ally                                                                                                                           guaranty

"Obligations"),                 effective        as
                                                       of September                6,    2022.




Any       liability           of Guarantor             hereunder              will      not   be    affected        by,                 will   it   be                            to                     the   consent        of
                                                                                                                              nor
                                                                                                                                                          necessary                    procure

Guarantor            or    give any notice                  in   reference           to, any       settlement,           or    variation            of terms            of any     obligation             of Dealership


or   of   a
              guarantor             or
                                         any
                                                other        interested
                                                                                  person,      by operation               of law         or    otherwise;               nor   by failure            to   file, record,        or




register any security                     document.              Guarantor           recognizes           that the        Ally      Parties                   utilize various               means
                                                                                                                                                                                                          of attempting
                                                                                                                                                    may


     verify Dealership's                                               with       its   credit                                                         collateral             checks        and          examination          of
to
                                               compliance                                          terms,      including periodic
books         and    records,            and   hereby expressly                                that such                                for the      sole      benefit         of the       Ally         Parties     and     the
                                                                                   agrees                        steps         are




adequacy of such checks and examinations                                             will not be considered                    as    a   defense         to   or    mitigation           of liabi lity hereunder.


Guarantor           acknowledges                 and
                                                            agrees
                                                                        that this
                                                                                         guaranty         is for    a
                                                                                                                         commercial              obligation              and      not   a   consumer            obligation
that   is     primarily          for     personal, family,                   or    household                              Guarantor             authorizes               the      Ally Parties,             from      time     to
                                                                                                        purposes.

time,       to     investigate             any
                                                  financial             information            provided             and       to    examine           or
                                                                                                                                                              review           Guarantor's                credit      history

(including obtaining                       a
                                               credit       report)          and
                                                                                     agrees        to   provide          the    Ally         Parties      with          financial        statements             in    a
                                                                                                                                                                                                                           form


satisfactory             to   the    Ally      Parties
                                                             upon       request by            either of the             Ally    Parties.




Guarantor            does       hereby expressly                   waive          and    dispense         with          notice      of                             of this                           notices         of
                                                                                                                                          acceptance                              guaranty,                                 non-




                         nonperformance,                    notice of amount of the                       Obligations outstanding                             at           time, protests,                demands            and
payment            or
                                                                                                                                                                   any

prosecution              of collection;          foreclosure,                and                         remedies. Guarantor                        hereby waives any right to require                                    either
                                                                                    possessory

of the    Ally Parties to: (i) institute suit                           or
                                                                              otherwise            proceed against other persons                              or   Dealership, (ii) advise Guarantor
of the      results of                   collateral         checks           or   examinations, (iii) require Dealership                                   to      comply with                its   agreements              with
                                any

either      or
                   both       of the     Ally Parties,            or    (iv) proceed against                   or
                                                                                                                    exhaust
                                                                                                                                        any    security.           Guarantor            acknowledges: (i) it is
Guarantor's              responsibility                to    review          the     documents            governing                the    guaranteed               Obligations                before        signing          this


guaranty and              to    obtain         and     review
                                                                    any
                                                                              future       documentation                 that may affect                  Dealership's aggregate obligation                                   to



either      or
                   both       of the       Ally Parties,               (ii)    Guarantor            has    knowledge                of and          adequate             means         to   obtain          Dealership's
financial          information,            and    (iii) that the nature and amount ofthe guaranteed Obligations                                                               may
                                                                                                                                                                                       increase without notice


to   Guarantor.               Guarantor          expressly          waives
                                                                                     any      duty      of either        of the          Ally       Parties        to    disclose        to    Guarantor:             (i)    any

infonnation              related      to    Dealership's                                  else's        ability to repay the guaranteed Obligations, including,                                                      without
                                                                       or
                                                                             anyone

limitation,          the      state      of Dealership's                business,          its condition            (financial, operating,                              otherwise),                  (ii)            facts    or
                                                                                                                                                                   or                          or
                                                                                                                                                                                                            any

circumstances                 that             affect Guarantor's                    risks under               related         to   this      guaranty.
                                     may                                                                  or




No    act     or   thing need            occur    to    establish the              liability of Guarantor hereunder,                                and       no    act   or   thing, except full                   payment

and
       discharge of all Obligations,                             will   in
                                                                              any way         exonerate        Guarantor                or   modify, reduce, limit,                      or
                                                                                                                                                                                              release the            liability
of Guarantor.




The    Ally        Parties
                                 may
                                           in their discretion                    apply to the Obligations                         or
                                                                                                                                        any
                                                                                                                                               other       obligations              of   Dealership             any       sums




received           by,         available               them                               of the                                               other      obligations              of   Dealership,                    of the
                         or
                                                 to,               on    account                        Obligations            or
                                                                                                                                     any
                                                                                                                                                                                                                out



collateral         security,                      other                       of                        Such     application              will             impair the liability                      of Guarantor
                                      or
                                           any                   source
                                                                                     payment.                                                       not                                                                       or




relieve       the Guarantor                from      liability under this Guaranty.
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Guarantor           waives              and    all    defenses, claims,          and       discharges          of            other                  pertaining        to     the   Obligations
                                 any                                                                                 any                party                                                          or




       other       obligations        of Dealership                     the defense of            discharge          of the      Obligations by payment                       in full. Guarantor
any                                                        except

will    not    assert,      plead     or   enforce      against     the      Ally    Parties
                                                                                                   any
                                                                                                          defense          of waiver,           release,        statute      of    limitations,       res




judicata,        statutes    of frauds,       fraud, incapacity, minority,                   usury,       illegality,           or   unenforceability            which          may be available

to
     any
            other
                      party in respect          of the    Obligations          or
                                                                                     any
                                                                                            other    obligations,               or
                                                                                                                                      any
                                                                                                                                             setoff available           against either of the

Ally    Parties       by Guarantor,           whether      or     not   on    account       of a related           transaction.




Guarantor           expressly       agrees
                                               that     it will   be and       will    remain       liable,        to    the    fullest      extent    permitted by applicable law,
for
      any     deficiency remaining after foreclosure of any mortgage                                          or   security interest securing the Obligations,                               whether


            the     liability    of           other     obligor     for   such       deficiency          is   discharged                                                     judicial       decision.
or    not
                                       any                                                                                            pursuant        to   statute      or




Further,         Guarantor                            waives              condition                                that               be     required       of the       Ally       Parties      under
                                   expressly                      any                       precedent                      may


applicable          law    prior   to   proceeding with any action to                       recover                 deficiency remaining                    after foreclostire.
                                                                                                          any




This is     an     absolute, continuing payment guaranty                            and     will   remain          in full      force and effect until              forty-eight (48) hours
after   receipt by the Ally                Parties     of written       notice                                                         this                      provided, however,                  that
                                                                                     by Guarantor terminating                                   guaranty;

such    notice will                                   release     Guarantor          from    liability         hereunder             with                             Obligations            incurred
                             not   operate      to
                                                                                                                                             respect       to
                                                                                                                                                                any


prior    to   the    effective        date    of such      notice,      In    order    to    be    effective,           notice        of termination            must       be   sent   to    the    Ally
Parties     at     the address      listed above and also               to:   Ally Bank and Ally Financial Inc.,                                500   Woodward               Avenue, MC:             MI-


01-16-RISK,            Detroit,        Michigan 48226,              Attn:      Senior       Vice     President,            Commercial               Credit       Operations.           All     notices


must    be mailed           by prepaid certified, registered                    or   first class     mail          or   delivered          by   a   nationally recognized overnight

courier       or   delivery      service.




Except        as    noted    herein,       neither     of the     Ally       Parties    has    made                  promises           to    Dealership         or   Guarantor           to   induce
                                                                                                              any

execution          of this                    and there                 written            unwritten                                       understandings                           either          both
                             guaranty                       are    no                 or
                                                                                                              agreements              or                              among                    or




of the      Ally     Parties     and                                      this                      The        obligation            of all     Guarantors         signing         this
                                        Guarantor         affecting              guaranty.                                                                                                guaranty,

where       more     than              will   be     joint and    several.       This       Guaranty                      not   be    changed orally             and     will bind        and       inure
                             one,                                                                              may

to   the    benefit       of the      heirs,    administrators,              successors,
                                                                                                  and    assigns           of Guarantor              and     each       of the      Ally       Parties,

respectively.         If
                           any     part of this guaranty is             not    valid    or
                                                                                             enforceable                according to applicable law, all other parts will
remain      enforceable.




This    Guaranty           and   the    performance         hereunder           will   be construed                and     determined            according         to   the law of the              state



where       Dealership        maintains         its   principal     executive          office without               regard       to   that state's         conflict     of laws rules.
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Transmission                             facsimile           email of a    signature to this guaranty will be deemed               to   constitute due and
                      by telecopier,                    or




sufficient      delivery of the guaranty.



                              I                                                             Off Lease        Only Parent LLC
                                   I

Witness:              daiklarii.__At                                                        Guarantor.

                                              F


                   Irnature)                                                                                         (Signature)


Print Name:                go p KIE- il E/fJfg-                                             Print Name:        Jonathan Rosman




Date:
                        2)    qZ,                                                           Date:       9/2/22




Address:         I'M          coetrieo(as-               cr                                 Address:         1200   S. Conuress Ave




                                                                                                        Palm    Springs,     FL 33406




State of         ("Cs" 2



County of         f     ,14       AEftett


On this
                      day of ft-Mat                          2022,   before   me
                                                                                   personally    came   and    appeared      _IDA-)         (La...(11-A--j
who     is   personally   known     to   me   or   proved to    me    on   the basis   of satisfactory       evidence   to   be the   person(s)   who


executed this instrument and             acknowledged           that they executed the          same   as,   or on
                                                                                                                   behalf of,    guarantor(s).




             e"               SOPHIE REINER

                                                                                   Notary Public in and for
         *00:             Osierrassion   IC 211228



             140, Ft,     Expires December V, 2025

                                                                                       OfiAl        6V-Cff

                                                                                   County



Accepted:


                                                                                                               *al Inc.
                                                                                            Ally Finan


 Signature                                                                             Signature
                              p.nciA       O.      Co                                  Print Name:           ge.44      c)-4            Gr,c
 Print Name:            K t


 Title:      Authorized    Representative                                              Title:   Authorized     Representative
 Date:                                                                                 Date:
